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                                 #:23354



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                   IN THE UNITED STATES DISTRICT COURT
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          CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
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12 PINN, INC.,                             Case No. 8:19-cv-1805-DOC-JDE
13                                         [PROPOSED] ORDER GRANTING
                        Plaintiff,
14                                         DEFENDANT APPLE INC.’S
         v.                                MOTIONS IN LIMINE NOS. 11-15
15                                         TO EXCLUDE ARGUMENT,
16 APPLE INC.,                             EVIDENCE OR QUESTIONS
                        Defendant.         RELATED TO CERTAIN
17                                         REVENUE, AGREEMENTS AND
18                                         PRICING
19                                         District Judge: David O. Carter
20                                         Magistrate Judge: John D. Early

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     [PROPOSED] ORDER GRANTING DEFENDANT APPLE INC.’S MOTIONS IN
                                                  LIMINE NOS. 11-15
                                      Case No. 8:19-cv-1805-DOC-JDE
 Case 8:19-cv-01805-DOC-JDE Document 339-1 Filed 01/08/21 Page 2 of 2 Page ID
                                 #:23355



 1         Having considered Defendant Apple Inc.’s Motions in Limine Nos. 11-15 to
 2   exclude argument, evidence or questions related to certain revenue, agreements and
 3   pricing, and for good cause shown, it is hereby ORDERED that the following is
 4   GRANTED:
 5              Motion in Limine Number 11 as follows: Pinn shall not introduce
 6               argument, evidence, or questions regarding Apple revenue and profits for
 7               the accused products prior to issuance of the ’066 patent;
 8              Motion in Limine Number 12 as follows: Pinn shall not introduce
 9               argument, evidence, or questions regarding Apple’s total revenue and
10               total profits for AirPods;
11              Motion in Limine Number 13 as follows: Pinn shall not introduce
12               argument, evidence, or questions regarding Apple’s technology
13               agreements;
14              Motion in Limine Number 14 as follows: Pinn shall not introduce
15               argument, evidence, or questions regarding the two confidential
16               agreements that are the subject of Apple’s motion; and
17              Motion in Limine Number 15 as follows: Pinn shall not introduce
18               argument, evidence, or questions regarding the acceptability of any non-
19               infringing alternative based on the timing of issuance of the ’491 patent.
20         IT IS SO ORDERED.
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22   Dated: ____________, 2021
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25                                            Hon. David O. Carter
                                              United States District Court Judge
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      [PROPOSED] ORDER GRANTING DEFENDANT APPLE INC.’S MOTIONS IN
                                                   LIMINE NOS. 11-15
                                       Case No. 8:19-cv-1805-DOC-JDE
